 Case: 6:11-cv-00109-GFVT Doc #: 11 Filed: 05/24/11 Page: 1 of 4 - Page ID#: 72



                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                   LONDON DIVISION
                           CIVIL ACTION NO. 6:11-cv-00109-GFVT

In re:          Route 1 Box 591, Mount Vernon, KY 40456

UNITED STATES OF AMERICA                                                           PLAINTIFF

VS.

THE ESTATE OF SHIRLEY ANN ROWE, ET AL                                          DEFENDANTS

                               MOTION FOR LEAVE TO FILE
                                 AMENDED COMPLAINT

         Comes the Plaintiff, United States of America, by and through counsel, pursuant to

Fed.R.Civ.P. 15(a) and Fed.R.Civ.P. 19(a), and hereby moves the Court for an order granting

leave to file an amended complaint in this matter. In support of this Motion, the Plaintiff states

as follows:

         An Answer to the Complaint was filed by the Defendants, Leon Rowe and Judy Rowe, as

document no. 9 on or about May 12, 2011, in which a number of heirs-at-law of Shirley Ann

Rowe were identified. As newly identified heirs-at-law and their respective spouses would have

an interest in the real property which is the subject matter of this foreclosure action, it is

necessary to name them as party defendants herein.

         Therefore, the Plaintiff, United States of America, hereby respectfully moves the Court

for an order granting leave to file an Amended Complaint joining newly identified heirs-at-law

of Shirley Ann Rowe and their respective spouses as defendants in this matter. A copy of the

Amended Complaint is attached hereto and incorporated herein by reference.
 Case: 6:11-cv-00109-GFVT Doc #: 11 Filed: 05/24/11 Page: 2 of 4 - Page ID#: 73



                                                  Respectfully submitted,

                                                  /s/ Melissa R. Dixon
                                                  R. Scott Wilder
                                                  Melissa R. Dixon
                                                  Gambrel & Wilder Law Offices, PLLC
                                                  1222 ½ N Main St Ste 2
                                                  London, KY 40741
                                                  Telephone: (606) 878-8906
                                                  Facsimile: (606) 878-8907
                                                  Email: mrdixon@gambrelwilderlaw.com


                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing Motion for Leave to File Amended
Complaint has been served upon the following either electronically via CM/ECF or by placing in
the United States Mail, postage prepaid, on the 24th day of May, 2011:

William D. Gregory, Esq.                          Richmond KY 40475
P O Drawer 220
Mt Vernon KY 40456-0220                           Sherry Rowe
                                                  Unknown Spouse of Sherry Rowe
Leon Rowe                                         4744 Club Dr
Judy Rowe                                         Port Charlotte FL 33953
5190 Spiro Road
Mt Vernon, KY 40456                               Doug Rowe, Jr.
                                                  Unknown Spouse of Doug Rowe, Jr.
Dr. Kevin Rowe                                    P O Box 713
Carla Rowe                                        Mt Vernon KY 40456
140 Newcomb Ave
Mt. Vernon KY 40456                               Tammy Barron
                                                  Bobby Barron
Geraldine Francisco Grimes                        P O Box 231
Clyde Grimes                                      Brodhead KY 40409
P O Box 283
Livingston KY 40445                               Janice Rowe
                                                  Unknown Spouse of Janice Rowe
Sheila Rowe                                       3350 Lancaster Road
Unknown Spouse of Sheila Rowe                     Stanford KY 40484
P O Box 283
Livingston KY 40445                               Beverly Phumpry
                                                  Unknown Spouse of Beverly Phumpry
Rose Thacker                                      130 W Broadway
George Thacker                                    Lawrenceburg KY 40342
119 Beaver Dr
 Case: 6:11-cv-00109-GFVT Doc #: 11 Filed: 05/24/11 Page: 3 of 4 - Page ID#: 74



Scott Rowe                                         Judy Williams
Unknown Spouse of Scott Rowe                       Troy Williams
960 Dills Bluff Road                               120 Raven Dr
Charleston SC 29412                                Berea KY 40403

Lewis Rowe, Jr.                                    Jeremy Rowe
Myrtle Rowe                                        Unknown Spouse of Jeremy Rowe
305 Reverend Green Loop Rd                         260 Manchester Lane
Mt Vernon KY 40456                                 Brodhead KY 40409

David Rowe                                         Billy Ray Dishion
Unknown Spouse of David Rowe                       Beverly Dishion
Box 36, Jarber Road                                11655 Geneva Road
Mt Vernon KY 40456                                 Cincinnati OH 45240

Paul Rowe                                          Ricky Dale Dishion
Edna Rowe                                          Annette Dishion
Box 46, Jarber Road                                3082 Sugar Tree
Mt Vernon KY 40456                                 Bethel OH 45106

Roger Rowe                                         Patricia Gayle Rankin
Roxie Rowe                                         Rodney Rankin
Box 36, Jarber Road                                4332 South Third St
Mt Vernon KY 40456                                 Louisville KY 40214

James Rowe                                         Brenda Sue Riley
Sheila Rowe                                        Mark Riley
2604 KY 3245                                       P O Box 334
Brodhead KY 40409                                  Lewisport KY 42351



The current mailing addresses of the following Defendants are unknown to the Plaintiff:

Jason Burkhart                                     Unknown Spouses of Unknown
Melody Burkhart                                    Heirs of Arthur Rowe
Linda Sue Rowe                                     Unknown Heirs of Etta Cromer
Unknown Spouse of Linda Sue Rowe                   Rowe
Unknown Heirs of Donald W. Rowe                    Unknown Spouses of Unknown
Unknown Spouses of Unknown                         Heirs of Etta Cromer Rowe
Heirs of Donald W. Rowe                            Unknown Spouse of Etta Cromer
Unknown Spouse of Elsie Rowe                       Rowe
Unknown Heirs of Elsie Rowe                        Unknown Spouse of Kenneth Rowe
Unknown Spouses of Unknown                         Unknown Heirs of Kenneth Rowe
Heirs of Elsie Rowe                                Unknown Spouses of Unknown
Unknown Heirs of Arthur Rowe                       Heirs of Kenneth Rowe
 Case: 6:11-cv-00109-GFVT Doc #: 11 Filed: 05/24/11 Page: 4 of 4 - Page ID#: 75



Betty Rowe                                 Heirs of Louis Rowe
Unknown Spouse of Betty Rowe               Debbie Rowe Cameron
Unknown Heirs of Douglas Rowe              Unknown Spouse of Debbie Rowe
Unknown Spouses of Unknown                 Cameron
Heirs of Douglas Rowe                      Unknown Heirs of Jerry Rowe
Unknown Spouse of Floyd Rowe               Unknown Spouses of Unknown
Unknown Heirs of Floyd Rowe                Heirs of Jerry Rowe
Unknown Spouses of Unknown                 Unknown Heirs of Lorene McNutt
Heirs of Floyd Rowe                        Unknown Spouses of Unknown
Unknown Heirs of Stewart Rowe              Heirs of Lorene McNutt
Unknown Spouses of Unknown                 Unknown Spouse of Bobby McNutt
Heirs of Stewart Rowe                      Unknown Heirs of Bobby McNutt
Unknown Heirs of Judy Kay Rowe             Unknown Spouses of Unknown
Unknown Spouses of Unknown                 Heirs of Bobby McNutt
Heirs of Judy Kay Rowe
Unknown Spouse of Louis Rowe
Unknown Heirs of Louis Rowe
Unknown Spouses of Unknown

                                           /s/ Melissa R. Dixon
                                           Melissa R. Dixon
